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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                       )             CASE NO. 1:06cr00338-010
                                                )
          Plaintiff,                            )             JUDGE: JAMES S. GWIN
                                                )
vs.                                             )             ORDER
                                                )
IRFAN ITAYEN,                                   )
                                                )
          Defendant.                            )



          This matter was heard on April 13, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant has violated the conditions of his supervised

release. The violation report was earlier referred to United States Magistrate Judge Limbert for a

Report and Recommendation which was filed on March 24, 2011 [Doc. 630]. The Report and

Recommendation noted that defendant admitted to the violation of failing to pay assessed jury

costs.

          Defendant, on April 13, 2011, was present and represented by Attorney Carlos Warner.

No objections to the Report and Recommendation having been filed and the defendant again

admitting to the report in the violation, the Court adopted the Report and Recommendation of the

Magistrate Judge and found defendant violated the conditions of his supervision as follows:

                 1) failure to pay assessed jury costs.

          The Court, after hearing from counsel for both plaintiff and defendant, sentenced

defendant to a term of 1 day in custody of the U.S. Marshal to be served April 13, 2011, and
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imposed an additional 2 years of supervised release under the same conditions earlier imposed.

Additionally, the Court imposed a fine in the amount of the $2728.00. Said fine is to be paid in

monthly installments of not less than $20.00 per month until paid in full. The Court also ordered

that payment of the fine would be a further condition of Defendant’s supervised release which

would be extended for two years. Finally, any monies received by defendant from Portage

County Court Case No. 2009-1499 shall be applied to the outstanding fine.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio to serve

the imposed incarceration of 1 day



Dated: April 15, 2011                               s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
